
PER CURIAM
Respondent was convicted of conspiracy to introduce and cause to be introduced misbranded drugs into interstate commerce, money-laundering conspiracy, and money laundering. Following the institution of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline, in which respondent acknowledges that his conduct constitutes a violation of Rules 8.4(b) and 8.4(c) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Daniel James Stanford, Louisiana Bar Roll number 22639, be and he hereby is disbarred, retroactive to September 17, 2014, the date of his interim suspension. His name shall be stricken from the roll of attorneys and his license to practice law in the State of Louisiana shall be revoked.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
